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AC 48503, HFH-CV24-6030117-S                     3:25-CV-00330-OAW


COMMERCIAL FUNDING LLC) UNITED STATES DISTRICT COURT


               V.                   )                  FOR THE


                                    ) DISTRICT COURT OF CONNECTICUT


STEPHEN C. MCCULLOUGH               )                 MARCH 07, 2025




               OBJECTION TO MOTION TO DISMISS



A. Brief History
Plaintiff filed Motion to Dismiss in Connecticut Appellate Court # AC48503 on
February 25, 2025. The Appellate Docket reflects a February 7, 2025 Judgment
date, (stemming from Judge Lopez denial to reopen the matter stemming from a
judgment of possession and default at 9:04am in chambers on January 30, 2025,
after plaintiff filed motion for such on January 27, 2025). The defendant timely
(within 5 days excluding Sunday and the holiday) filed a motion for waiver of
fees (#172.00), on February 14, 2025, for both the appellate filing fee and cost of
transcripts on appeal. On February 18, 2025 Judge Lopez granted the appellate
filing fee, but not the transcripts fee and left that checkbox blank. Within 5 days
of that day (minus the intervening Sunday) defendant timely filed the appeal
February 24, 2025 (#177.00). In the intervening time, defendant filed a second
motion for waiver of fees (#176.00) for just the transcripts on February 21, 2025
as was suggested by the head clerk Sue, instead of filing a Motion for Review in




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Appellate Court under Practice Book §66-6 which would have taken significantly
longer; Judge Lopez granted the waiver for transcripts on February 24, 2025. (5
days after this date would have yielded Saturday March 1, a day court is closed,
which would have extended the filing deadline until Monday March 3, 2025.)

       Also of note is during the intervening time, defendant on February 14,
2025 filed Application for Certification Pursuant to G.S. § 52-265a in Cases of
Substantial Public Interest in Supreme Court(# SC240179); this was denied
without judicial memorandum on February 20, 2025.

B. Specific Facts and Legal Grounds Relied Upon
The plaintiffs motion is very similar to the one he filed in trial court # HFH-
CV24-6030117-S, Motion to Compel Clerk to Issue Execution (#180.00) on the
very same day 02/25/25; Section B. is a carbon copy of that entire motion minus
the first sentence and the last sentence. He appears to be shopping in two
jurisdictions at once; that motion is not one of the one's allowed in trial court,
once a case has been removed to Appellate Court.

Judge Cristina Lopez has just become a Connecticut judge in September of 2024
and has already made multiple very unusual and landmark decisions: 1) allowing
a non-landlord/tenant case, where defendant claims ownership, and no quiet title,
involving fraud, and 13 year complex legal history, to proceed in Summary
Housing Court, 2) denying a motion to strike a complaint that bases an owner's
right or privilege to live in his house expires on the day of a tax sale auction, as
opposed to six months later when the redemption period ends, going against many
decades of practice, and creating basis for havoc when families have to leave their
house and then move back in after redeeming, and 3) allowing a public official
(appointed by the governor, and second most senior member of Connecticut
Advisory Council on Housing Matters, whose membership includes privileged
access to judges, mediators, head clerks, and ability to influence the same with
official publication archived in the State Library) to take on housing matters for
pay. These monumental and landmark decisions were also issued with absolutely



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no judge's memorandum at all in the motion to dismiss for subject matter
jurisdiction, motion to transfer ( out of Summary Court), motion to strike, and
motion to disqualify; plaintiff did not even have to submit a written objection to
the motion to dismiss. When all this goes your way, it is no surprise that
plaintiffs attorney attempts to solicit favoritism from the trial court to
prejudicially influence the higher court, and storms forward in the trial court as if
no appeal has happened.

For similar reasons as in defendant's objection to the Motion to Compel Clerk to
Issue Execution, he claims that the accepted practice, since at least 1978, in the
Connecticut Practice Book, excludes the time need to apply for waiver of fees,
costs, and expenses, on appeal, and the time to have them ruled upon is excluded
within the time to appeal.

P.B. §63-l(c)(l) How new appeal period is created bottom paragraph states:

"If, within the appeal period, any motion is filed, pursuant to Section 63-6 or
63- 7, seeking waiver of fees, costs and security or appointment of counsel, a
new twenty day appeal period or statutory periodfor filing the appeal shall
begin on the day that notice of the ruling is given on the last such outstanding
motion. If a party files, pursuant to Section 66-6, a motion for review of any such
motion, the new appeal period shall begin on the day that notice of the ruling is'
given on the motion for review."

P.B. §63-6: "If a party in any case where fees and costs may lawfully be waived is
indigent and desires to appeal, that party may, within the time provided by the
rules for taking an appeal, make written application to the trial court for relief
from payment of fees, costs and expenses ... The court may not consider the
relative merits of a proposed appeal in acting upon an application pursuant to
this section except that the court.may consider the criteria contained in General
Statutes § 52-259b."

Also, P.B. §63-2: "In determining the last day for filing any documents, the last
day shall, and the first day shall not, be counted."




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The practice book recognizes some types of cases have different appeal periods.
The only difference between a Summ ary Process and a normal appeal is that the
"statutory period for filing the appeal" is now five days ( exclusive of Sundays &
legal holidays) instead of twenty. Defendant timely filed his motion for waiver of
fees, on the standardized form JD-CV-120, pursuant to §63-6, on February 14,
2025, within the five-day period (excluding a Sunday and legal holiday) from
judgment on February 7, 2025. The judge granted waiver of appellate entry fee
on February 18, 2025, which gives rise to a new five-day time period. Defendant
then timely filed the appeal on Monday February 24, 2025. This section has read
very much the same for the last 47 years, since 1978, when it was §3007. The
plaintiffs attorney, who has been practicing since 1981 should know better, and
appears to be soliciting prejudice and special treatment from the court

Further, the Practice Book reiterates this in the very next subsection §63-1 ( c)(2)
where it states: "If, however, a new appeal period arises due to the filing of a
motion for waiver of fees, costs and security ... "

Prescott, Connecticut Appellate Practice and Procedure 8th ed. (2023) confirms:

4-2:6.2d states: "With the exception of child protection matters,264 if a
motion for waiver of fees, costs or security is filed within the appeal period,
or seeking appointment of counsel,265 a new appeal period begins on the day
that notice of the ruling is given on the last outstanding motion.266"

4-3:4.1 states: "The application must be filed within the time for taking an
appeal, 361 and it has the effect of postponing the appeal period until issuance
of notice of the decision on the application.362"

6-2:5.3 states: "A trial judge is authorized to waive an appellant's filing· fees
and costs in appropriate cases. Such a motion is akin to a motion to extend
time to appeal in that both seek trial court dispensation from the usual



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appeal procedure and both arise in the time period after judgment but. before
an appeal is filed."

Further, the defendant, in that first waiver of fees, was effectively denied the
transcript fees, when it was not ruled upon, and had to reapply again on February
21, 2025, and then granted on February 24, 2025. Realistically, defendant has had
until March 3, 2025, (according to the five-day rule, and extended to next
available court day) to file his appeal timely.

Also, P.B. §63-l(c)(l) states:
"If a motion is filed within the appeal period that, if granted, would render the
judgment, decision or acceptance of the verdict ineffective, either a new twenty
day period or applicable statutory time period for filing the appeal shall begin on
the day that notice of the ruling is given on the last such outstanding motion,
except as provided for additur or remittitur in the next paragraph." ...
"Motions that, if granted, would render a judgment, decision or acceptance of the
verdict ineffective include, but are not limited to, motions that seek: the opening
or setting aside of the judgment; a new trial; the setting aside of the verdict;
judgment notwithstanding the verdict; reargument of the judgment or decision;
collateral source reduction; additur; remittitur; or any alteration of the terms of the
judgment." RAP Horton Connecticut Rules ofAppellate Procedure §63-1
Lastly, in both cases cited by the plaintiff, are not adequate representative of the
legal issues. In the first entry on the docket, the Appeal Form, shows there was
no motion or application for waiver of fees. In both cases, it was the
landlord/plaintiff who sought the appeal. In the first case, Centrix Management
Company, LLC v. Fosberg, 218' Conn 206 (2023), the appeal was accepted, not
rejected, for being timely, and defendant's motion to dismiss denied. Final
judgment was on September 21, 2022 and appeal filed on October 7, 2022 (p.
209) - thus showing there are exceptions to this rule. In the second case, Ansonia
Housing Authority v. Parks, 211 ConnApp 528 (2022),
plaintiff/landlord/appellant filed his Motion to Reargue some nineteen days after ·
judgment which deemed that motion untimely and unable for appellate court to




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review. It should be noted though in fn[ 4], that in counting of days, the
intervening Sunday did not count, and thus had given him six, instead of five
days, for the appeal period.

This is not a motion that requires an evidentiary hearing by the trial court.
Likewise, this motion to dismiss goes against decades of practice regarding fee
waivers, and should be denied.




DATED: this 7th day of March, 2025




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               145.00 11/15/2024   p   OBJECTION TO MOTION @J                                             No
                                        Objection to Motion to Strike
                                        RESULT: Sustained 12/16/2024 HON CRISTINA LOPEZ

               145.10 12/16/2024   C   ORDER@                                                            · No
                                        RESULT: Sustained 12/16/2024 HON CRISTINA LOPEZ

               146.00 11/18/2024   p   MOTION FOR SUMMARY JUDGMENT@)                                     Yes
                                        RESULT: Denied 1/10/2025 HON CRISTINA LOPEZ
               146.10 01/10/2025   C   ORDER    ®J                                                        No
                                        RESULT: Denied 1/10/2025 HON CRISTINA LOPEZ

               147.00 11/18/2024   p   MEMORANDUM IN SUPPORT OF MOTION                ®J                  No
                                        In Support of Motion for Summary Judgment
               148.00 11/18/2024   p   AFFIDAVIT@                                                         No
                                        In Support of Motion for Summary Judgment

               149.00 12/16/2024   D   REPLY   ®J                                                         No
                                        to Objection to Motion to Strike
                                        Last Updated: Additional Description - 12/16/2024

               150.00 12/20/2024   p   MOTION FOR JUDGMENT             '3J                                No
                                        Motion for Judgment for Possession for Failure to Plead JD-
                                       HM-10
               151.00 12/30/2024   D   OBJECTION TO MOTION            '3J                                 No
                                        Obj. to Motion for Default for Failure to Plead
               152.00 12/30/2024   D   MOTION FOR EXTENSION OF TIME TO PLEAD ffiJ                         No
                                        Last Updated: Party Type - 12/31/2024

               153.00 12/31/2024   p   OBJECTION TO MOTION FOR EXTENSION OF TIME                '3J       No
                                        Objection to Motion for Extension of Time #152.00

               154.00 12/31/2024   p   REPLY   ®J                                                         No
                                        Reply to Objection to Motion for Judgment for Failure to Plead

               155.00 01/02/2025   D   REPLY ffiJ                                                         No
                                        REPLY TO OBJECTION

               156.00 01/03/2025   D   OBJECTION TO MOTION            '3J                                 No
                                        FOR SUMMARY JUDGMENT (MCCULLOUGH, STEPHEN)

               157.00 01/06/2025   D   AFFIDAVIT@                                                         No

               158.00 01/07/2025   p MOTION FOR JUDGMENT OF DEFAULT FOR FAILURE TO                        No
                                       PLEAD AND POSSESSION SUMMARY PROCESS ®J
                                        RESULT: Denied 1/10/2025 HON CRISTINA LOPEZ

               158.10 01/10/2025   C   ORDER   '3J                                                       No
                                        RESULT: Denied 1/10/2025 HON CRISTINA LOPEZ

              159.00 01/07/2025    p   REPLY@                                                            No
                                        Reply to Objection to Motion for Summary Judgment

              160.00 01/27/2025    p MOTION FOR JUDGMENT OF DEFAULT FOR FAILURE TO                       No
                                       PLEAD AND POSSESSION SUMMARY PROCESS@
                                        RESULT: Granted 1/30/2025 HON CRISTINA LOPEZ

              160.10 01/30/2025    C   ORDER@                                                            No
                                        RESULT: Granted 1/30/2025 HON CRISTINA LOPEZ

              161.00 01/30/2025    C   JUDGMENT OF POSSESSION • WHERE ONE ORIGINALLY                     No
                                       HAD THE RIGHT OR PRIVILEGE IS NOW TERMINATED
                                        RESULT: HON CRISTINA LOPEZ

              162.00 01/30/2025    C   NOTICE TO ALL PARTIES          '3J                                No

              163.00 01/30/2025    p SUMMARY PROCESS EXECUTION FILED@                                    No

              164.00 02/05/2025    D   MOTION FOR WAIVER        '3J                                      No
                                        RESULT: Granted 2/5/2025 HON CRISTINA LOPEZ

              165.00 02/05/2025    D   MOTION TO OPEN JUDGMENT· HOUSING                   '3J            No
                                        RESULT: Denied 2/7/2025 HON CRISTINA LOPEZ
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               165.10   02/07/2025   C   ORDER     sJ                                                  No
                                          RESULT: Denied 2/7/2025 HON CRISTINA LOPEZ
               166.00 02/05/2025     D   ANSWER AND SPECIAL DEFENSE            sJ                      No

               167.00 02/06/2025     D   AMENDED ANSWER AND SPECIAL DEFENSE §)                         No
                                          STEPHEN MCCULLOUGH
               168.00 02/06/2025     D   MEMORANDUM IN SUPPORT OF MOTION@                              No
                                          MEMORANDUM IN SUPPORT OF MOTION TO OPEN

               169.00 02/06/2025     p   REPLY TO SPECIAL DEFENSE§)                                    No
                                          Denial of Special Defenses

               170.00 02/06/2025     p OBJECTION TO MOTION @                                           No
                                           Objection to Motion to Open
               170.10 02/07/2025     C   ORDER@                                                        No
                                          RESULT: Sustained 2/7/2025 HON CRISTINA LOPEZ

               171.00 02/13/2025     D   NOTICE@                                                       No
                                          Application for Certification to Supreme Court

               172.00 02/14/2025     D   MOTION FOR WAIVER@                                            No
                                          RESULT: Granted 2/18/2025 HON CRISTINA LOPEZ

               173.00 02/19/2025     p   MOTION FOR ORDER @                                            No
                                          Motion to Prospectively Terminate Appellate Stay

               174.00 02/20/2025     C   APPEAL TO SUPREME COURT ALL FEES PAID §J                      No
                                          Pre Appeal Application for Certification Denied
               175.00 02/2Q/2025     C   SUPREME COURT DECISION APPEAL DISMISSED                       No
                                          RESULT: BY THE CLERK
               176.00 02/21/2025     D   MOTION FOR WAIVER §) ! NEW                                    No
                                          for transcripts
                                          RESULT: Granted 2/24/2025 HON CRISTINA LOPEZ
               177.00 02/24/2025     C   APPEAL TO APPELLATE COURT§)             ! NEW                 No

              178.00 02/24/2025      D   OBJECTION &J ! NEW                                            No
                                          to Motion to Prospectively Term. Appellate Stay

              179.00 02/25/2025      p   REPLY@ I NEW                                                  No
                                          Reply Re: Motion to Prospectively Terminate Appellate Stay

              180.00 02/25/2025      p MOTION FOR ORDER@ ! NEW                                         No
                                          Motion to Compel Clerk to Issue Execution
              181.00 02/26/2025      p WITHDRAWAL OF MOTION ®J f NEW                                   No
                                          #126.00 Motion for Order - Use & Occupancy
              182.00 02/26/2025      p CASEFLOW REQUEST (JD-CV-116). ®J ! NEW                          No
                                          RESULT: Denied 2/26/2025 HON CRISTINA LOPEZ

              182.10 02/26/2025      C   ORDER@ !NEW                                                   No
                                          RESULT: Denied 2/26/2025 HON CRISTINA LOPEZ

              183.00 02/28/2025      p   DISCLOSURE OF EXPERT WITNESS ®J ! NEW                         No
                                          Alan Budkofsky

              184.00 02/28/2025      p DISCLOSURE OF EXPERT WITNESS @ ! HEW                            No
                                          Kyle O'Hehir

              185.00 02/28/2025      D OBJECTION TO MOTION @ 1 NEW                                     No
                                          TO COMPEL CLERK TO ISSUE
                                         EXECUTION(MCCULLOUGH, S.)

              186.00 03/04/2025      D   NOTICE OF REMOVAL TO FEDERAL DISTRICT COURT @J                No
                                         ! f·JEW

                                           Scheduled Court Dates as of 03/06/2025
              HFH-CV24-6030117-S - COMMERCIAL FUNDING, LLC v. MCCULLOUGH, STEPHEN CAMPBELi:. Et
                                                     Al
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                                         CERTIFICATION


               I, Stephen C. McCullough, plaintiff pro se, hereby certify: that a true copy
        of the foregoing Objection to Motion to Dismiss, has been sent to all counsel of
        record in compliance with Practice Book §62-7 on March 7, 2025; that copy sent
        by mail and electronically to:
        HOUSTON PUTNAM LOWRY
        FORD & PAULEKAS LLP
        280 TRUMBULL ST
        HARTFORD, CT 06103
        Phone (860)808-4213, Fax (860)249-7500 email: ptl@HPLowry.com
        This document does not contain any names or other personal identifying
        information that is prohibited from disclosure by rule, statute, court order, or case
        law; and that this document complies with all applicable rules of appellate
        procedure. No deviations were requested.




        Dated this 26th day of February, 2025




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